        Case 4:22-cv-04267 Document 4 Filed on 12/28/22 in TXSD Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 ANGELA ONKEN,                                   §
                                                 §
            Plaintiff,                           §
                                                 §
 v.                                              §           CIVIL ACTION NO. 4:22-CV-4267
                                                 §
 GATEWAY MORTGAGE GROUP,                         §
 LLC                                             §
                                                 §
            Defendant.                           §
                                                 §

                                   NOTICE OF SETTLEMENT

         PLEASE TAKE NOTICE that Defendant Gateway First Bank, successor by conversion to

Gateway Mortgage Group, LLC (incorrectly named as “Gateway Mortgage Group, LLC”)

(“Gateway”) files this Notice of Settlement and would respectfully show the Court as follows:

      1. Gateway wishes to notify the Court that the parties have reached settlement on all claims

         in this matter.

      2. Gateway respectfully requests that all upcoming hearings and/or deadlines be cancelled.

      3. Final dismissal papers will be filed with the Court within the next thirty (30) days.

         Gateway prays that the Court cancel any upcoming hearings, give the Parties thirty (30)

days to file final dismissal papers, and for such other further relief to which Gateway may be justly

entitled.



                                    [Signatures on following page]




                                                     1
4870-0942-1639.1
        Case 4:22-cv-04267 Document 4 Filed on 12/28/22 in TXSD Page 2 of 3




                                            Respectfully submitted,




                                        By: /s/ Gabriella Alonso
                                            KYLE A. OWENS
                                            Texas Bar No. 24046573
                                            Federal I.D. No. 590511
                                            kowens@bradley.com
                                            1445 Ross Avenue, Suite 3600
                                            Dallas, Texas 75202
                                            (214) 257-9800 Telephone
                                            (214) 939-8787 Telecopier

                                            GABRIELLA E. ALONSO
                                            Texas Bar No. 24113527
                                            Fed. I.D. No. 3427194
                                            galonso@bradley.com
                                            600 Travis Street, Suite 4800
                                            Houston, Texas 77002
                                            (713) 576-0300 Telephone
                                            (713) 576-0301 Telecopier
                                            ATTORNEYS FOR DEFENDANT
                                            GATEWAY FIRST BANK




                            CERTIFICATE OF CONFERENCE

      I do hereby certify that I have conferred with counsel for Plaintiff Angela Onken via email
who agrees to the above. Therefore, this motion is unopposed.

                                                   /s/ Gabriella E. Alonso
                                            Gabriella E. Alonso




                                               2
4870-0942-1639.1
        Case 4:22-cv-04267 Document 4 Filed on 12/28/22 in TXSD Page 3 of 3




                                CERTIFICATE OF SERVICE
        I certify that on this 28th day of December 2022, I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF system. I further certify that a true and correct copy of
the foregoing has been served on all counsel of record as follows:


                          Via email: erick.delarue@delaruelaw.com
                                        Erick DeLaRue
                             Law Office of Erick DeLaRue, PLLC
                             2800 Post Oak Boulevard, Suite 4100
                                    Houston, Texas 77056
                                     Attorney for Plaintiff


                                                     /s/ Gabriella E. Alonso
                                                     Gabriella E. Alonso




                                                3
4870-0942-1639.1
